  Case 1-23-43812-nhl             Doc 37      Filed 01/30/25   Entered 01/30/25 09:35:57




MYC & ASSOCIATES, INC.
Real Estate Broker to the Chapter 7 Trustee
1110 South Avenue, Suite 22
Staten Island, New York 10314
Telephone: (347) 273-1258

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                          Chapter 7

143-30 SANFORD AVE LLC,                                         Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

                      REPORT OF SALE OF THE DEBTOR’S
              REAL PROPERTY AND IMPROVEMENTS LOCATED AT
             143-30 SANFORD AVENUE, FLUSHING, NEW YORK 11355

TO THE HONORABLE NANCY HERSHEY LORD,
UNITED STATES BANKRUPTCY JUDGE:

        MYC & ASSOCIATES, INC. (“MYC”) was retained, pursuant to 11 U.S.C.

327(a), by an Order of this Court entered on May 29, 2024 [ECF Docket No. 18], as a real

estate broker to Lori Lapin Jones as Chapter 7 Trustee (“Trustee”). The retention order is

annexed to this Report of Sale as Exhibit “A”.

                                          BACKGROUND

        1.       On October 19, 2023 (“Petition Date”), the Debtor filed a voluntary

petition under Chapter 7 of the Bankruptcy Code.

        2.       As of the Petition Date, the Debtor was the owner of the real property and

improvements located at 143-30 Sanford Avenue, Flushing, NY 11355 (“Property”).

                                         THE PROPERTY

        3.       The Property consists of a ±22,000 square foot lot that is improved by a

±58,800 square foot, seven story building with eighty residential units.
  Case 1-23-43812-nhl        Doc 37     Filed 01/30/25     Entered 01/30/25 09:35:57




                                  363 SALE PROCESS

       4.       On August 8, 2024, at approximately 11:00 a.m., I conducted a public

auction sale by Zoom (“Auction Sale”) of the Property.

       5.       To qualify to bid at the Auction Sale, bidders were required to sign Terms

and Conditions of Sale and provide a $500,000 deposit to the Trustee (except for the

lender). No bidders qualified to bid at the Auction Sale other than the lender, Sanford

Funding LLC (“Sanford Funding”).

       6.       At the Auction Sale, Sanford Funding bid $3,000,000. There were no other

bids for the Property at the Auction Sale.

       7.       The bid from Sanford Funding to purchase the Property is the highest and

best offer received after marketing and a fair and open sale process.

       8.       An order was entered on November 8, 2024, confirming the results of the

Auction Sale.

       9.       On January 14, 2025, the Trustee closed on the sale of the Property to

Sanford Realty Management LLC, the designee of Sanford Funding, and collected the sum

of $3,000.00.

                              MARKETING CAMPAIGN

       10.      Between May 2024 and August 2024, MYC actively marketed the Property

for sale by, among other things: (a) engaging a professional photographer to take interior,

exterior and aerial photographs of the Property; (b) designing and disseminating an offering

memorandum to potential interested purchasers; (c) creating and disseminating email

campaigns to potential interested purchasers, including MYC’s proprietary database; (d)

listing the Property on various websites, including MYC’s. MYC advertised the Property
  Case 1-23-43812-nhl        Doc 37      Filed 01/30/25       Entered 01/30/25 09:35:57




and the Sale digitally on multiple platforms, which included: (i) LoopNet, Inc.

(https://www.loopnet.com), which had over 129,400 views; (ii) The Real Deal

(https://therealdeal.com/new-york/);            (iii)         Commercial             Observer

(https://commercialobserver.com)       and    (iv)      New   York   Real   Estate    Journal

(https://nyrej.com). MYC also communicated with the Receiver, assembled documents and

information relating to the Property, and created a data room for potential interested

purchasers to access documents and information relating to the Property. MYC received

over 66 expressions of interest in the Property, and 8 non-disclosure agreements were

executed by potentially interested purchasers. MYC conducted 7 tours of the Property.

       WHEREFORE, MYC & Associates, Inc. believes that the highest and best results

were achieved for the sale of the Property.



                                         MYC & ASSOCIATES, INC.

                                         By: /s/ Victor M. Moneypenny
                                         Victor M. Moneypenny
                                         MYC & Associates, Inc.


                                         Dated: January 29, 2025
Case 1-23-43812-nhl   Doc 37   Filed 01/30/25   Entered 01/30/25 09:35:57




                       EXHIBIT "A"
       Case 1-23-43812-nhl            Doc 37
                                          18       Filed 01/30/25
                                                         05/29/24    Entered 01/30/25
                                                                             05/29/24 09:35:57
                                                                                      14:39:08




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:                                                              Chapter 7

143-30 SANFORD AVE LLC,                                             Case No.: 23-43812-nhl

                           Debtor.
--------------------------------------------------------x

     ORDER AUTHORIZING AND APPROVING EMPLOYMENT OF MYC &
  ASSOCIATES, INC. AS REAL ESTATE BROKER TO THE CHAPTER 7 TRUSTEE

        Upon the application (“Application”) of Lori Lapin Jones, solely in her capacity as Chapter

7 Trustee (“Trustee”) of the estate of 143-30 Sanford Ave LLC (“Debtor”), seeking entry of an

Order authorizing and approving the employment of MYC & Associates, Inc. (“MYC”) as real

estate broker to market and sell Debtor’s real property and improvements located at 143-30

Sanford Avenue, Flushing, New York 11355 (“Property”) pursuant to section 327(a) of title 11 of

the United States Code (“Bankruptcy Code”) and the stipulation among the Trustee, Sanford

Funding LLC and Gerard A. Geisweller, Esq. dated April 19, 2024 (“Stipulation”); and upon the

Affidavit of Marc P. Yaverbaum, a copy of which is annexed to the Application; and the Court

being satisfied that: (i) MYC neither represents nor holds any interest adverse to the Trustee or to

the Debtor’s estate; (ii) MYC is a “disinterested person” as that term is defined in section 101(14)

of the Bankruptcy Code; and (iii) the employment of MYC is necessary and would be in the best

interest of the Debtor’s estate; it is now hereby

        ORDERED that, in accordance with section 327(a) of the Bankruptcy Code, MYC is

employed as real estate broker to the Trustee to market and sell the Property in accordance with

the Stipulation; and, it is further




                                                            1
      Case 1-23-43812-nhl         Doc 37
                                      18     Filed 01/30/25
                                                   05/29/24    Entered 01/30/25
                                                                       05/29/24 09:35:57
                                                                                14:39:08




       ORDERED that, for its services and consistent with the Stipulation, MYC shall be entitled

to seek compensation as follows: (i) if the Property is sold by the Trustee to a third-party that is

not Sanford Funding LLC, a buyer’s premium of four percent (4%) of the amount of the gross

sales price of the Property (which shall be inclusive of reimbursement of expenses); or (ii) if the

Property is sold by the Trustee to Sanford Funding LLC, the sum of $75,000, plus out-of-pocket

expenses not to exceed $30,000; and, it is further

       ORDERED that no compensation shall be paid to MYC except upon proper application

pursuant to sections 330 and 331 of the Bankruptcy Code, upon notice, upon a hearing, and by

further Order of the Court; and, it is further

       ORDERED that this Court shall retain jurisdiction to hear and to determine all matters

arising from or related to implementation of this Order.


            NO OBJECTION:

            William K. Harrington

            United States Trustee for Region 2


            By: /s/ Nazar Khodorovsky

                Nazar Khodorovsky, Trial Attorney

            Dated: May 27, 2024




 Dated: May 29, 2024                                             ____________________________
        Brooklyn, New York                                             Nancy Hershey Lord
                                                                  United States Bankruptcy Judge
                                                 2
